










NUMBER 13-01-501-CR

COURT OF APPEALS

THIRTEENTH DISTRICT OF TEXAS

CORPUS CHRISTI

__________________________________________________________________  


GLENN DEWAYNE SHEDD , Appellant,


v.


THE STATE OF TEXAS, Appellee.

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On appeal from the 36th District Court 

of San Patricio County, Texas.

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O P I N I O N


Before Justices Dorsey, Rodriguez, and Castillo

Opinion Per Curiam


Appellant, GLENN DEWAYNE SHEDD , perfected an appeal from a judgment entered by the 36th District Court of San
Patricio County, Texas,  in cause number 8587 .  Appellant has filed a motion to dismiss the appeal.  The motion complies
with Tex. R. App. P. 42.2(a).

The Court, having considered the documents on file and appellant's motion to dismiss the appeal, is of the opinion that
appellant's motion to dismiss the appeal should be granted.  Appellant's motion to dismiss the appeal is granted, and the
appeal is hereby DISMISSED.

PER CURIAM

Do not publish.

Tex. R. App. P. 47.3.

Opinion delivered and filed this

the 17th day of January, 2002 .


